        Case 1:20-cv-03426-UA Document 3 Filed 05/01/20 Page 1 of 2
IH-32                                                                              Rev: 2014-1




                    United States District Court	

                                for the	

                   Southern District of New York	

                            Related Case Statement	

                                              !
                            Full Caption of Later Filed Case:

CHRISTOPHER KOPCZYNSKI,




                Plaintiff                                        Case Number


                                               20-cv-03426
                  vs.

!!
TETRAPHASE PHARMACEUTICALS, INC., L.
PATRICK GAGE, GAREN BOHLIN, STEVEN
BOYD, JEFFREY A. CHODAKEWITZ, JOHN G.
FREUND, GERRI HENWOOD, GUY MACDONALD,
KEITH MAHER, and NANCY J. WYSENSKI

               Defendant

                            Full Caption of Earlier Filed Case:
             (including in bankruptcy appeals the relevant adversary proceeding)

!!
HERMAN SAHAN,




                Plaintiff                                        Case Number

                                               20-cv-03069
                  vs.

!!
TETRAPHASE PHARMACEUTICALS, INC.,
L. PATRICK GAGE, GAREN BOHLIN,
JEFFREY A. CHODAKEWITZ, JOHN G.
FREUND, GERRI HENWOOD, GUY
MACDONALD, and NANCY J. WYSENSKI,

               Defendant
!

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             Case 1:20-cv-03426-UA Document 3 Filed 05/01/20 Page 2 of 2
IH-32                                                                                         Rev: 2014-1



Status of Earlier Filed Case:
                          (If so, set forth the procedure which resulted in closure, e.g., voluntary
        ____ Closed       dismissal, settlement, court decision. Also, state whether there is an appeal
                          pending.)
        ✔
     ____ Open            (If so, set forth procedural status and summarize any court rulings.)

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Complaint filed on 04/16/2020. Case assigned to the Honorable Vernon S. Broderick.

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Explain in detail the reasons for your position that the newly filed case is related to the
earlier filed case.
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!
The newly filed case is related to the earlier filed case for the following reasons:
!
(1) involves the same parties and is based on the same or similar claims;
!
(2) arises from the same or substantially identical transactions, incidents, or events requiring
!
the determination of the same or substantially identical questions of law or fact; and
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(3) is likely for other reasons to require substantial duplication of judicial resources if heard
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by different judges
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!                                                                                05/01/2020
Signature:    ________________________________________                   Date: __________________!
!
!              WEISSLAW LLP
Firm:         ________________________________________


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